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               IN THE UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF SOUTH CAROLINA
                       CHARLESTON DIVISION

                                             MDL No. 2:18-mn-2873-RMG
IN RE: AQUEOUS FILM-FORMING
FOAMS PRODUCTS LIABILITY                      This Document relates to:
LITIGATION
                                     City of Stuart, Florida v. 3M Company, et al.,
                                                 2:18-cv-03487-RMG


            MOTION FOR SUMMARY JUDGMENT OF DEFENDANTS
E. I. DU PONT DE NEMOURS AND COMPANY, THE CHEMOURS COMPANY, AND
                   THE CHEMOURS COMPANY FC, LLC
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       E. I. du Pont de Nemours and Company, The Chemours Company, and The Chemours

Company FC, LLC, together bring this motion for summary judgment on all claims brought by

the City of Stuart. These Defendants are referred to as “DuPont/Chemours” herein.

                                      INTRODUCTION

       DuPont/Chemours have never manufactured nor sold aqueous film-forming foam (AFFF).

Korzeniowski Rpt., JX 7, at 17-23.1 Rather, DuPont/Chemours manufactured a component —

either the telomer iodide or the fluorocarbon surfactant—that was eventually used to produce

AFFF by AFFF manufacturers. Id. At no time have DuPont/Chemours used either PFOS or PFOA

as an ingredient or in the manufacture of these products. Id. at 9-10. At no time have

DuPont/Chemours used the electrochemical fluorination (“ECF”) process to manufacture these

products. Only 3M used that process, whereas DuPont/Chemours solely used the telomerization

process. Id. at 19-20. No allegation in this litigation related to PFOS or branched PFOA

contamination applies to DuPont/Chemours. 2

       Summary judgment in favor of DuPont/Chemours is warranted because: (1) Plaintiff

cannot meet its burden to prove the conduct of DuPont/Chemours caused Plaintiff’s harm, and (2)

DuPont/Chemours had no duty to warn.




1   All JX references are to documents identified in and appended to the Joint Exhibit List filed
    separately on behalf of all Defendants today.
2   See Defs’ Omnibus Mem. of Law in Support of Motion to Exclude Plaintiffs’ Experts’ Opinion
    Testimony (“Defendants’ Omnibus Rule 702 Motion”), filed this same day, which is
    incorporated herein by reference, for an explanation of telomer iodides, fluorocarbon
    surfactants, PFOS, PFOA, and the telomer and ECF processes.


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                                           ARGUMENT

I.      All of Plaintiff’s Claims Fail Because Plaintiff Cannot Prove Causation Against
        DuPont/Chemours.

        As a fundamental matter, to establish causation, Plaintiff must first prove that the PFOA

they claim degraded from telomer AFFF, allegedly found through sampling in City wells,

originated from telomer AFFF and not one of dozens of other potential sources. For the reasons

set forth in Defendants’ Omnibus Rule 702 Motion, Plaintiff’s proof fails on even that initial

element. It is undisputed that multiple entities (both defendants and non-defendants) manufactured

fluorotelomer products and that those products were used in dozens of industries other than

firefighting foam. See Love Rpt., JX 9, at 23-25, 50. It is also not disputed that PFOA allegedly

degrading from telomer AFFF is chemically indistinguishable from PFOA emanating from those

many other sources. E.g., Love Rpt., JX 9, at 50 (FT-AFFF); Higgins Dep., JX 26, at 114:20-

116:02 (ECF). Plaintiff cannot prove causation against DuPont/Chemours (or any telomer

Defendant) because its experts failed to reliably rule out those other potential sources of PFOA

contamination. See Defendants’ Omnibus Rule 702 Motion.

        Beyond that fundamental deficiency, to prevail against DuPont/Chemours on any claim,

Plaintiff must prove that they specifically caused its harm.3 Florida law requires proof that tortious

conduct “directly and in natural and continuous sequence produces or contributes substantially to

producing such … injury … so that it can reasonably be said that, but for the [tortious conduct],

the injury would not have occurred.” Aubin v. Union Carbine Corp., 177 So.3d 489, 513 (Fla.



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     See Rider v. Sandoz Pharms. Corp., 295 F.3d 1194, 1197 (11th Cir. 2002) (“Toxic tort cases,
     such as this one, are won or lost on the strength of the scientific evidence presented to prove
     causation.”); see also Evans v. Matrixx Initiatives, Inc., No. 3:07-CV-357-J-34JRK, 2009 WL
     2914252, at *5 (M.D. Fla. Feb. 18, 2009) (“[B]ecause Plaintiffs are relying on a toxic tort
     theory, they must prove both general and specific causation.”).


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2015), citing In re Std. Jury Instr. In Civ. Cases–Report No. 13-01, 16- So.3d at 877. “A mere

possibility of such causation is not enough; and when the matter remains one of pure speculation

or conjecture, or the probabilities are at best evenly balanced,” Plaintiff cannot prevail. Gooding

v. Univ. Hosp. Bldg., Inc., 445 So. 2d 1015, 1018 (Fla. 1984).

       Here, none of Plaintiff’s causation experts (Mr. Anthony Brown, Dr. Christopher Higgins,

and Dr. Jonathan Martin) opine that the conduct of DuPont/Chemours was a cause without which

the alleged contamination would not have occurred. Mr. Brown concedes that he did not attempt

to attribute any PFAS contamination to any specific defendant’s products. See Brown Dep., JX 21,

at 197:12-18. Significantly, neither did Dr. Higgins nor Dr. Martin. Both experts opine that the

vast majority of PFAS contamination in the City of Stuart (including PFOS, branched PFOA, and

most linear PFAS) originated with 3M. See Higgins Rpt., JX 4, at 30-34. Regarding linear PFOA,

they offer no opinion that DuPont/Chemours’ conduct, or their products, were a cause without

which the contamination would not have occurred. Without such an opinion, Plaintiff’s claims

cannot survive summary judgment under established Florida law. See Aubin, 177 So.3d at 489.

       Indeed, Dr. Higgins vaguely opines there are other “important contributors” (beyond 3M)

to PFOA found in samples, and that “some contribution” from telomer-derived PFOA is present.

Higgins Rpt., JX 4, at 32. Dr. Martin, for his part, opines that “the vast majority of PFOA in city

of Stuart water supplies comes from its presence as an impurity of PFOS formulations, which were

added to 3M AFFFs.” Martin Rpt., JX 13, at 83. Dr. Martin then claims that between 1.5% and

4.5% of the total PFAS found in samples collectively originated from telomer-based AFFF. Id. at

85. Dr. Martin performed no quantitative or qualitative analysis within those ranges specific to any

telomer defendant.




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        Collective evidence is insufficient to prove Plaintiff’s case against DuPont/Chemours.

Simply assigning a percentage range of telomerized PFOA allegedly found in samples does not

prove that the conduct of DuPont/Chemours was a but-for cause, without which the contamination

would not have occurred. There is, in fact, no evidence in the record that would allow a jury to

conclude that DuPont/Chemours caused Plaintiff’s harm. To the contrary, Plaintiff’s causation

case rests solely on “speculation [and] conjecture.” Gooding, 445 So. 2d at 1018. Even viewing

the evidence in the light most favorable to the Plaintiff (those allegations being denied), at best,

Plaintiff’s experts have demonstrated a “mere possibility” that the conduct of multiple parties, only

possibly including DuPont/Chemours, might have contributed to Plaintiff’s alleged harm. See id.

Because that evidence does not prove causation against these Defendants specifically, Plaintiff

cannot prevail on any claim against DuPont/Chemours. Id. Summary judgment on all claims is

warranted as a matter of law.

II.     Plaintiff Cannot Prevail on Any Failure-to-Warn Theory Because DuPont/Chemours
        Had No Duty to Warn.

        DuPont/Chemours are also entitled to summary judgment on Counts I and II (and any

portion of Count IV that sounds in failure-to-warn).

        It is undisputed that DuPont/Chemours never manufactured nor sold AFFF to any party,

including the City of Stuart. See Korzeniowski Rpt., JX 7, at 23. DuPont/Chemours only

manufactured a component, which they sold down the stream of commerce, never having any

control over the final product, which was formulated, labeled, packaged, and distributed by third

parties. Id. at 19-23. As a practical matter, an upstream manufacturer in such a position is unable

to provide end users with warnings regarding any alleged hazards associated with its product

because it has no contact with the ultimate end user, and the end product was manufactured, then

re-packaged and re-labeled long after it left the component manufacturer’s hands. See Pike v.



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Trinity Industries, Inc., 34 F. Supp. 3d 1193, 1201 (M.D. Fla. 2014) (holding that an upstream

manufacturer “should not be burdened with the often difficult task of providing instructions [to

downstream consumers] on how to properly perform the basic operation”).

       Further, Plaintiff’s experts opine that the entire industry learned of the potential for

fluorosurfactants to degrade into PFOA in 2001, upon notice from the EPA, an allegation

DuPont/Chemours denies. See Siegel Dep., JX 38, at 198:10–199:1; see also Defendants’ Omnibus

Rule 702 Motion. Regardless, accepting Plaintiff’s allegations as true for purposes of this motion,

if the entire industry shared the same base of knowledge at the same time, Plaintiff cannot argue

that DuPont/Chemours unreasonably relied on AFFF Manufacturers to warn the City of Stuart

about any potential dangers. DuPont/Chemours are entitled to judgment on Plaintiff’s failure-to-

warn claims for that reason as well.

                                        CONCLUSION

       For the reasons stated herein, E. I. du Pont de Nemours and Company, The Chemours

Company, and The Chemours Company FC, LLC, are entitled to summary judgment on all claims.



                                             Respectfully submitted,

Dated: December 2, 2022                      By: /s/ Brent Dwerlkotte
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                CASE MANAGEMENT ORDER 19F CERTIFICATION
       Pursuant to CMO-19F, the Defense Co-Leads, on behalf of the DCC, hereby certify that

the foregoing supplemental brief does not duplicate the arguments or record evidence already

presented in the omnibus summary judgment brief.

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                                CERTIFICATE OF SERVICE

       I certify that on December 2, 2022, I electronically filed the foregoing document with the

Clerk of the Court using CM/ECF. I also certify the foregoing document is being served this day

on all counsel of record in this case via transmission of Notice of Electronic Filing generated by

CM/ECF.

                                                 /s/ Brent Dwerlkotte
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